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UN|TED STATES D|STR|CT COURT
WESTERN D|STR|CT OF I\/||CH|GAN
SOUTHERN D|V|S|ON

UN|TED STATES OF AMER|CA,
P|aintiff, 1=18-mj-152
v. COMPLA|NT
PENALTY SHEET
HOWARD ANTHONY I\/|AYF|ELD, et a|.,

Defendants.

HOWARD ANTHONY MAYF|ELD - 1

Conspiracv to Distribute Contro||ed Substances - 21 USC §§ 846, 841(a)(1)

Maximum penalty: Not less than 10 years nor more than life imprisonment and a f`lne of up to
510,000,000[21 USC § 841(b)(1)(A)]

Supervised Re|ease: Not less than 5 years and up to life [21 USC § 841(b)(1)(A)]

Specia| Assessment: $100 [18 U.S.C. § 3013]

 

 

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WlLBERT GENTRY - 2

Conspiracv to Distribute Contro||ed Substances - 21 USC §§ 846, 841(a)(1)

Maximum penalty: Not less than 10 years nor more than life imprisonment and a fine of up to
$10,000,000 [21 USC § 841(b)(1)(A)]

Supervised Re|ease: Not less than 5 years and up to life [21 USC § 841(b)(1)(A)]

Specia| Assessment: $100 [18 U.S.C. § 3013]

 

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CRA|G SHEV|NSKY JAMES - 3

Conspiracv to Distribute Contro||ed Substances - 21 USC §§ 846, 841(a)(1)

Maximum penalty: Not more than 20 years in prison and a fine of up to $1,000,000 [21 USC
§ 841(b)(1)(C)]

Supervised Re|ease: Not less than 3 years and up to life [21 USC § 841(b)(1)(C)]

Specia| Assessment: $100 [18 U.S.C. § 3013]

 

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MART|N DUKES - 4

Conspiracy to Distribute Contro||ed Substances - 21 USC §§ 846, 841(a)(1)

Maximum penalty: Not more than 20 years in prison and a fine of up to $1,000,000 [21 USC
§ 841(b)(1)(C)]

Supervised Re|ease: Not less than 3 years and up to life [21 USC § 841(b)(1)(C)]

Specia| Assessment: $100 [18 U.S.C. § 3013]

 

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jENN|FER TADEO - 5

Conspiracy to Distribute Contro||ed Substances - 21 USC §§ 846, 841(a)(1)

Maximum penalty: Not more than 20 years in prison and a fine of up to $1,000,000 [21 USC
§ 841(b)(1)(C)]

Supervised Re|ease: Not less than 3 years and up to life [21 USC § 841(b)(1)(C)]

Special Assessment: $100 [18 U.S.C. § 3013]

 

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DONALD GARDNER - 6

Conspiracy to Distribute Contro||ed Substances - 21 USC §§ 846, 841(a)(1)

Maximum penalty: Not more than 20 years in prison and a fine of up to $1,000,000 [21 USC
§ 841(b)(1)(C)]

Supervised Re|ease: Not less than 3 years and up to life [21 USC § 841(b)(1)(C)]

Special Assessment: $100 [18 U.S.C. § 3013]

 

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TAMARA NELSON MlNGO - 7

Conspiracy to Distribute Contro||ed Substances - 21 USC §§ 846, 841(a)(1)

Maximum penalty: Not more than 20 years in prison and a fine of up to $1,000,000 [21 USC
§ 841(b)(1)(C)]

Supervised Re|ease: Not less than 3 years and up to life [21 USC § 841(b)(1)(C)]

Special Assessment: $100 [18 U.S.C. § 3013]

 

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RYAN BROWN - 8

Conspiracy to Distribute Contro||ed Substances - 21 USC §§ 846, 84lla)(1)

Maximum penalty: Not more than 20 years in prison and a fine of up to $1,000,000 [21 USC
§ 841(b)(1)(C)]

Supervised Re|ease: Not less than 3 years and up to life [21 USC § 841(b)(1)(C)]

Special Assessment: $100 [18 U.S.C. § 3013]

 

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YVETTE BROWN - 9

Conspiracy to Distribute Contro||ed Substances - 21 USC §§ 846, 841(a)(1)

Maximum penalty: Not more than 20 years in prison and a fine of up to $1,000,000 [21 USC
§ 841(b)(1)(C)]

Supervised Re|ease: Not less than 3 years and up to life [21 USC § 841(b)(1)(C)]

Special Assessment: $100 [18 U.S.C. § 3013]

 

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MON|CA LASTER - 10

Conspiracy to Distribute Contro||ed Substances - 21 USC §§ 846, 841(a)(1)

Maximum penalty: Not more than 20 years in prison and a fine of up to $1,000,000 [21 USC
§ 841(b)(1)(C)]

Supervised Re|ease: Not less than 3 years and up to life [21 USC § 841(b)(1)(C)]

Special Assessment: $100 [18 U.S.C. § 3013]

 

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SHAMEK|A LlPTROT - 11

Conspiracy to Distribute Contro||ed Substances - 21 USC §§ 846, 841(a)(1)

Maximum penalty: Not more than 20 years in prison and a fine of up to $1,000,000 [21 USC
§ 841(b)(1)(C)]

Supervised Re|ease: Not less than 3 years and up to life [21 USC § 841(b)(1)(C)]

Special Assessment: $100 [18 U.S.C. § 3013]

 

 

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CARLUS BR|DGEFORTH - 12

Conspiracy to Distribute Contro||ed Substances - 21 USC §§ 846, 841(a)(1)

Maximum penalty: Not more than 20 years in prison and a fine of up to $1,000,000 [21 USC
§ 841(b)(1)(C)]

Supervised Re|ease: Not less than 3 years and up to life [21 USC § 841(b)(1)(C)]

Special Assessment: $100 [18 U.S.C. § 3013]

 

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MART|NELLUS N|X - 13

Conspiracy to Distribute Contro||ed Substances - 21 USC §§ 846, 841(a)(1)

Maximum penalty: Not more than 20 years in prison and a fine of up to $1,000,000 [21 USC
§ 841(b)(1)(C)]

Supervised Re|ease: Not less than 3 years and up to life [21 USC § 841(b)(1)(C)]

Special Assessment: $100 [18 U.S.C. § 3013]

 

 

 

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DEMARCUS PlNDER - 14

Cons irac to Distribute Contro||ed Substances- 21 USC 846 841 a 1

Maximum penalty: Not more than 20 years in prison and a fine of up to $1,000,000 [21 USC
§ 841(b)(1)(C)]

Supervised Re|ease: Not less than 3 years and up to life [21 USC § 841(b)(1)(C)]

Special Assessment: $100 [18 U.S.C. § 3013]

 

 

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ELS|E BR|DGET BOSTON - 15

Cons irac to Distribute Contro||ed Substances - 21 USC 846 841 a 1

Maximum penalty: Not more than 20 years in prison and a fine of up to $1,000,000 [21 USC
§ 841(b)(1)(C)]

Supervised Re|ease: Not less than 3 years and up to life [21 USC § 841(b)(1)(C)]

Special Assessment: $100 [18 U.S.C. § 3013]

